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Attorneys for Plaintiff
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA

                                                  :
Eric Steinmetz, and all similarly situated        :
individuals,                                      :
                          Plaintiffs,             :
        v.                                        : Civil Action No.: 18-cv-981-JCM-PAL
                                                  :
Brinker International, Inc. d/b/a Chili’s Grill & : NOTICE OF VOLUNTARY DISMISSAL
Bar,                                              : WITHOUT PREJUDICE
                                                  :
                       Defendant.                 :
                                                  :
                                                  :




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       Pursuant to Federal Rule of Civil Procedure 41, Plaintiff hereby voluntarily dismisses this

action, without prejudice.

Dated: September 6, 2018
                                            Respectfully Submitted,

                                            /s/ Miles N. Clark
                                            Matthew I. Knepper, Esq.
                                            Miles N. Clark, Esq.
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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 6, 2018, and pursuant to the Federal Rules of Civil

Procedure, a true and correct copy of the foregoing NOTICE OF VOLUNTARY DISMISSAL

WITHOUT PREJUDICE was served via the U.S. District Court’s electronic filing system to

each of the following:


                                          /s/ Miles N. Clark______
                                          Knepper & Clark LLC




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